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 6
     Attorneys for Defendants
 7 COUNTRYWIDE HOME LOANS, INC.,
     RECONTRUST COMPANY, N.A.
 8 BANK OF AMERICA, N.A., and
     MORTGAGE ELECTRONIC REGISTRATION
 9 SYSTEMS, INC, sued erroneously as
     MERS, INC.
10
11                                UNITED STATES DISTRICT COURT

12                              EASTERN DISTRICT OF CALIFORNIA

13
14 BERNARD F. CLARK,                                  Case No.: 1:09-CV-01998-OWW-JLT

15                         Plaintiff,                 ORDER GRANTING MOTION TO DISMISS
                                                      AND GRANTING MOTION TO EXPUNGE
16                                                    LIS PENDENS

17            vs.

18
19 COUNTRYWIDE HOME LOANS, INC., et
     al.,
20
                           Defendants.
21
22
23 On December 2, 2010, this Court issued a memorandum dismissing Plaintiff’s Second Amended
24 Complaint with leave to amend and granting Defendants’ motion to expunge the lis pendens
25 recorded by Plaintiff for the property located at 12689 Mt. Jefferson Street, Groveland,
26 California. (See Docket Index No. 61).
27 //
28
     11952/0235/869640.1                                                                       ORDER
                                                                    Case No. SA 1:09-CV-01998-OWW-JLT
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 1             It is hereby ordered that Plaintiff’s Second Amended Complaint is dismissed in its
 2 entirety. Plaintiff shall have until January 2, 2011 (30 days from the entry of the memorandum)
 3 to file an amended complaint. Plaintiff has leave to file a complaint stating only a fraud claim.
 4 Plaintiff is reminded to review the memorandum at Docket Index No. 61 in attempting to state
 5 such a claim. Defendants shall have the right to move to dismiss Plaintiff’s amended complaint,
 6 if they so choose. If Plaintiff does not amend his complaint by January 2, 2011, Plaintiff’s
 7 complaint shall be dismissed with prejudice and without leave to amend as to all named
 8 defendants.
 9             It is also hereby ordered that Defendants’ motion to expunge the lis pendens is hereby
10 granted.
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12             IT IS SO ORDERED.
13 Date: 12/23/2010                                         /s / OLIVER W. WANGER
                                                               Hon. Oliver W. Wanger
14                                                           United States District Judge

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     11952/0235/869640.1                                                                          ORDER
                                                                          Case No. 1:09-CV-01998-OWW-JLT
